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IN THE UNITED STATES DISTRICT COURT "ejQ~"D»C-
FOR THE WESTERN DISTRlCT OF TENNESSEE 95 JUN -7 PH 2_. hs

EASTERN DIVISION ::(~;¢Fz.. \, H
I‘] J v -H' ' D! .

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MARK MANNING, §§ JACKSON
ll
Plaintiff, §
ll

Vs. §§ NO. 05_1082-T/An

ll
RYAN SHANKLIN, ET AL,, Q
ll
Defendants. §

 

ORDER OF PARTIAL DISMISSAL
AND
ORDER TO EFFECT SERVICE ON THE REMAINING DEFENDANTS

 

Plaintiff l\/Iark Manning filed a pro se complaint on March 21, 2005 that asserted
claims under 42 U.S.C. §§ 198], 1983, 1985, and 1986. Plaintiffpaid the civil filing fee.
The Clerl< shall record the defendants as Ryan Shanklin, Jimmy Wren, and the City of
Bradford, Tennessee.

The complaint alleges that defendant Shanklin obtained a search Warrant authorizing
him to search the plaintiff’s property based on Shanklin’s representation that he noticed a
strong odor of ether corning from the plaintiff" s address. The warrant said that Shanklin had
probable cause to believe that plaintiff had in his possession methamphetamine, precursors
used in the manufacture of methamphetamine, solvents, and reagents used to manufacture

methamphetamine Plaintiff asserts that his house is 100 yards from the street, Which

Ttns document entered on the docket sheet in compliance
with F!ule 58 andfor 79 (a) FRCP on ‘

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presumably Would lead to the conclusion that the officer could not have observed the odor
from the street. The Warrant states, apparently inaccurately, that defendant Wren
accompanied Shanklin to the plaintiffs property to observe the odor. The search vvarrant
Was executed on March 19, 2004, vvhile the plaintiff had visitors celebrating his child’s third
birthday. The Bradford Police Dcpartment did not find any ofthe items listed in the search
warrant The plaintiff Was arrested and charged With possession of a small amount of
marijuana, but those charges Were later dropped The plaintiff seeks compensatory and
punitive damages

According to the Sixth Circuit, “a district court may not sua sponte dismiss a
complaint Where the filing fee has been paid unless the court gives the plaintiff the
opportunity to amend the complaint.” Apple v. Glenn, 183 F.3d 477, 478 (6th Cir. 1999)
(per curiam); see also Benson v. O’Brian, 179 F.3d 1014 (6th Cir. 1999); Tingler v.
Marshall, 716 F.Zd 1 109, 1 112 (6th Cir. 1983). There is an exception to this general rule,
however, that permits a district court to dismiss a complaint “for lack of subject matter
jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure When the
allegations of a complaint are totally implausible, attenuated, unsubstantial, frivolous, devoid
of merit, or no longer open to discussion.” Appl_e, 183 F.3d at 478 (citing Hagans v. Lavine,

415 U_s. 528, 536-37 (1974)).

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As a preliminary matter, defendant Wren cannot be held liable merely on the basis
of his position as chief of police. There is no respondeat superior liability under § 1983.
Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). lnstead:

[t]here must be a showing that the supervisor encouraged the specific instance

of misconduct or in some other way directly participated in it. At a minimum,

a § 1983 plaintiff must show that a supervisory official at least implicitly

authorized, approved or knowingly acquiesced in the unconstitutional conduct

of the offending subordinates
l_d. (citation omitted). A supervisory official Who is aware of the unconstitutional conduct
of his subordinates yet fails to act generally cannot be held liable in his individual capacity
Shehee v. Luttrell, 199 F.3d at 30(); Lillard v. Shelbv County Bd. of Educ., 76 F.3d 716,
727-28 (6th Cir. 1996). In this case, the complaint is devoid of allegations that defendant
Wren “at least implicitly authorized, approved or knowingly acquiesced in the
unconstitutional conduct of the offending subordinates,” My, 729 F.2d at 421, or that
the allegedly unconstitutional conduct described in the complaint was the direct result of
defendant Wren’s failure to perform a function he was legally obligated to perform, w
Claiborne Countv, Tennessee, 103 F.3d 495, 511-12 (6th Cir. 1996). Accordingly, even if
it were assumed that the search warrant was obtained without probable cause and on the
basis of false statements, defendant Wren would not be liable to the plaintiff Accordingly,

the Court DISMISSES the complaint in its entirety with respect to defendant Wren, pursuant

to Fed. R. Civ. P. 12(b)(l) and (h)(B), for lack of subject-matterjurisdiction

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rl`he complaint also does not assert a viable claim against any defendant pursuant to
42 U.S.C. § 1981, which provides, in pertinent part, that “[a]ll persons within the
jurisdiction of the United States shall have the same right in every State and Territory to
make and enforce contracts . . . and to the full and equal benefit of all laws and proceedings
for the security of persons and property as is enjoyed by white citizens.” Although the
complaint alleges that the plaintiff is white,l the complaint does not allege racial
discrimination See Bell v. Ohio State Univ., 351 F.3d 240, 252-53 (6th Cir. 2003). Thc
Court therefore DISMISSES the claim pursuant to 42 U.S.C. § 1981, with respect to all
defendants, pursuant to Fed. R. Civ. P. 12(b)(1) and (h)(3), for lack of subject-matter
jurisdiction

The claim pursuant to 42 U.S.C. § 1985 is also subject to dismissal Although the
complaint does not identify which provision of § 1985 the plaintiff purports to invokc, the
only conceivably applicable provision is § 1985(3), which prohibits a conspiracy “for the
purpose of depriving, either directly or indirectly, any person or class of persons of the equal
protection of the laws or of equal privileges and immunities under the laws.”

[:I]n order to state a cause of`action under § 1985, the plaintiffmust allege that

the defendants (1) conspired together, (2) for the purpose of depriving,

directly or indirectly, a person or class of persons of the equal protection of

the laws, (3) and committed an act in furtherance of the conspiracy, (4) which

caused injury to person or property, or a deprivation of any right or privilege

of a citizen of the United States, and (5) and that the conspiracy was motivated
by racial, or other class-based, invidiously discriminatory animus.

 

l The fact that the plaintiff is white would not, by itself, preclude him from bringing a § 1981 claim §

Hardmon v. Universitv of Al<ron, 40 Fed. Appx. 1 16, 1 19 (6th Cir. .luly l, 2002).

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Bass v. Robinson, 167 F.3d 1041, 1050 (6th Cir. 1999).

The complaint, even construed liberally, Haines v. Kerner, 404 U.S. 519 (1972), does
not allege that the defendants sought to deprive the plaintiff of the equal protection of the
laws or that they were motivated by racial, or other class-based, invidiously discriminatory
animus.

Moreover, “in order to demonstrate the necessary conspiracy, a plaintiff must allege

specific acts or means by which the defendants were alleged to have conspired.” Bl_"yant-

Bruce v. Vanderbilt Univ._ Inc., 974 F. Supp. 1127 (M.D. Tenn. 1997); see also Brooks v.

 

American Broadcasting Cos., 932 F.2d 495 (6th Cir. 1991) (affirming denial of motion to
amend to add § 1985 claim because “the allegations are too vague and conclusory to
withstand a motion to dismiss”); Jaco v. Bloechle, 739 F.2d 239, 245 (6th Cir. 1984)',
Lindsey v. Allstate lns. Co., 34 F. Supp.2d 636, 645 (W.D. Tenn. 1999); c_f. Gutierrez v.
LM, 826 F.2d 1524, 1538 (6th Cir. 1987) (“lt is Well-settled that conspiracy claims must
be pled with some degree of specificity and that vague and conclusory allegations
unsupported by material facts will not be sufficient to state . . . a claim.”; dismissing § 1983
conspiracy claim).

In this case, the complaint fails to mention a conspiracy, let alone identify any of its
members Moreover, even if the plaintiff did allege that each of the defendants conspired
to commit the acts described in the complaint, plaintiffs § 1985 claim suffers from an even

more fundamental defect. The defendants in this case are the City of Bradford, its police

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chief, and a member of its police force. “According to the intracorporate conspiracy
doctrine, members ofthe same legal entity cannot conspire with one another as long as their
alleged acts were within the scope of their employment.” Jackson v. Citv of Columbus, 194
F.3d 737, 753 (6th Cir. 1999).2 Plaintiffs complaint contains no allegations that either of
the individual defendants was acting outside the scope of his employment, “and simply suing
an official in his individual capacity does not satisfy this requirement.” §3 Thus, plaintiffs
§ 1985 claim is barred by the intracorporate conspiracy doctrine. The Court therefore
DISMISSES the claim pursuant to 42 U.S.C. § 1985 , with respect to all defendants, pursuant
to Fed. R. Civ. P. 12(b)(1) and (h)(3), for lack of subject-matter jurisdiction

Because any claim under 42 U.S.C. § 1986 is entirely derivative of a valid claim
pursuant to 42 U.S.C. § 1985, M, 167 F.3d at 1051 n.5, the dismissal ofthe § 1985 claim
mandates the dismissal of the § 1986 claim with respect to all defendants, pursuant to Fed.
R. Civ. P. 12(b)(1) and (h)(3), for lack of subject-matter jurisdiction

As a result, the only federal claim remaining in the complaint is asserted against
defendants Shanklin and the City of Bradford pursuant to 42 U.S.C. § 1983.

The Clerl< shall issue process for the remaining defendants and deliver it to the

plaintiff, who is responsible for ensuring that service is effected pursuant to the Federal

 

2 See also Dohertv v. American Motors Corp., 728 F.2d 334, 339 (6th Cir. 1984); Lindsey, 34 F. Supp. 2d
at 644-45.

3 If the individual defendants are alleged to have acted outside the scope of their employment, it seems

inconceivable that there would be a basis for municipal liability.

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Rules of Civil Procedure.4 Service on the individual defendant shall be made pursuant to
Fed. R. Civ. P. 4(e)(1) and Tenn. R. Civ. P. 4.04(1) & (10), either by mail or personally if
mail service is not effect. Service on the City of Bradford shall be made pursuant to Fed.
R. Civ. P. 4(j)(2) and Tenn. R. Civ. P. 4.04(8) & (10). ln addition to the summons and
complaint, the service shall include a copy of this order.

lt is ORDERED that the plaintiff shall serve a copy of every further document filed
in this cause on the attorney for each defendant, or on any defendant that has no attorney
The plaintiff shall make a certificate of service on every document filed. The plaintiff shall
familiarize himself with the Federal Rules of Civil Procedure and the Local Rules of this
Court. A copy of the Local Rules may be obtained, at no cost, from the Clerk.

The plaintiff shall promptly notify the Clerk of any change of address or whereabouts
Failure to comply with these requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

lT IS SO ORDERED this 2 day of June, 2005.

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4 Plaintiff is advised ofFed. R. Civ. P. 4{0)(1), which provides, in part, that “[s]ervice may be effected by
any person who is not a party and who is at least 18 years of age.” However, under the Tennessee Rules of Civil
Procedure, which are incorporated into the federal rule, §§ Fed. R. Civ. P. (e)(l), if service is made by registered or
certified retum receipt mail, it may be made by the plaintiff himself Tenn. R. Civ. P. 4.04(10).

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 1:05-CV-01082 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Mark Manning
217 Wingo St.
Bradford, TN 37316

Honorable .1 ames Todd
US DISTRICT COURT

